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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 UNITED STATES OF AMERICA, et al.,

                               Plaintiffs,
                                                     Case No. 1:20-cv-03010-APM
                                                     HON. AMIT P. MEHTA
 v.

 GOOGLE LLC,

                               Defendant.


 STATE OF COLORADO, et al.,

                               Plaintiffs,
                                                     Case No. 1:20-cv-03715-APM
                                                     HON. AMIT P. MEHTA
 v.
                                                     FILED UNDER SEAL
 GOOGLE LLC,

                               Defendant.



                         PLAINTIFF STATES’ OPPOSITION TO
                       GOOGLE’S MOTION TO FILE A SUR-REPLY

       Plaintiff States oppose Google’s motion to file a sur-reply, ECF No. 576, in further

opposition to Plaintiff States’ motion for sanctions and reply in support thereof. ECF Nos. 496;

572. This Opposition adopts the arguments of the United States in Opposition to Google’s

motion to file a sur-reply.

       The Court should deny Google’s motion to file a sur-reply because Google’s proposed

submission simply raises nothing new. Sur-replies are generally disfavored. Banner Health v.

Sebelius, 905 F. Supp. 2d 174, 187 (D.D.C. 2012) (citing Kifafi v. Hilton Hotels Retirement

Plan, 736 F.Supp.2d 64, 69 (D.D.C.2010)). However, district courts may grant leave to a file a

sur-reply when the movant would be unable to contest matters presented to the court for the first
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time in a party’s reply. Lewis v. Rumsfeld, 154 F. Supp. 2d 56, 61 (D.D.C. 2001). Google fails

to meet this standard.

          All of Google’s points could have been raised in Google’s response brief to Plaintiff

States’ motion. While Google’s motion focuses on the United States’ (and apparently Plaintiff

States’) reference to newly disclosed chats and Judge Donato’s decision in the Google Play

litigation, Google’s proposed sur-reply goes well beyond these two limited issues.

         Google’s proposed submission seeks to rehash Google’s mistaken attempt to blame the

United States and its co-plaintiff, Texas, for Google’s failure to comply with its document

preservation obligations.1 The prior briefing of the parties amply demonstrates that the relevant

case law and facts of this case require a finding of a violation of Rule 37(e) and the imposition of

sanctions. Google cannot explain away that Google knowingly left it to custodians to decide on

preservation of chats, while fostering a culture of hiding information from litigation holds.

Within this environment the evidence shows that chats were routinely destroyed and not

preserved as required by law. Google turned a blind eye to monitoring if chats were being

preserved. Google still makes no argument that either Plaintiff States or the United States were

aware of these critical facts of intentional spoliation.

         Google’s sur-reply seeks to rehash its argument about prejudice to Plaintiff States and the

United States that is untethered to Google’s purported justification for submitting a sur-reply.

Plaintiff States’ and the United States’ motions seek very limited discovery and then a hearing as




1
    While Google’s proposed sur-reply is purportedly directed at Plaintiff States’ sur-reply, ECF
    No. 572, Google does not specifically challenge Plaintiff States’ lack of knowledge that
    Google employees were intentionally destroying chats despite the existence of a duty to
    preserve.

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to the issue of prejudice.2 In particular, the requested limited discovery seeks a 30(b)(6)

deposition on preservation and spoliation as well as affidavits seeking disclosure of the chat use

and preservation practices of key custodians.

         Plaintiff States’ and the United States’ reference to chats produced by Google in the play

store case provides no basis for a sur-reply submission. These limited chats produced only after

the Plaintiff States and the United States filed their motions, but well known to Google, show a

culture of hiding the ball and spoliation – first in emails and then in chats. As noted, limited

discovery will focus on the reach of this culture into the issues in this case and the prejudice to

Plaintiff States and the United States.

         Finally, the submission to the Court of Judge Donato’s opinion – without any argument -

issued after the submission of the replies on spoliation provides no basis for Google to submit a

sur-reply arguing that it disagrees with Judge Donato’s finding on parallel issues.

         Plaintiff States request that the Court deny Google’s motion to file a sur-reply brief and

strike the submitted brief. Should the Court grant Google’s motion, Plaintiff States request leave

to file a response to Google’s sur-reply brief.




2
    Google makes the false argument that the United States and the States seek to reopen
    discovery. To the contrary, the requested discovery seeks limited information related to the
    spoliation issue. See DOJ Motion 29-30.

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Date: April 7, 2023                 Respectfully submitted by,

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